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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



  UNITED STATES ex rel. BRIAN ARYAI,

                             Plaintiffs,                 Case No. 09-cv-05456 (LGS)
          v.

  SKANSKA, et al.,

                            Defendants.


          NOTICE OF DISMISSAL AS TO DEFENDANT CM CONSORTIUM

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff United States ex rel. Brian Aryai hereby dismisses with prejudice the above

captioned action against Defendant CM Consortium.


Dated: March 20, 2018                          By: ​/s/ JOSEPH G. SCONZO_
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